              Case 2:17-cv-00113-ABJ Document 7 Filed 09/26/17 Page 1 of 6



                                                                                     ^'r
Robert F. Lain                                                                             •   JjA'i


3 Chapel Rd
Big Piney, Wyoming 83113
                                                                             jfl'?SfP26 PM3:3,
Defendant
                                                                             ^'""ch^I-clerh
                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING

UNITEDSTATES OF AMERICA,
          Plaintiff,                                 Civil No. 17-CV-113-J
              V.                                     IN SPECIAL APPEARANCE
ROBERT F. LAIN, AMELIA LAIN, and                     MOTION FOR JOINING MOTIONS
SEPTEMBER LIBERTY TRUST,                             UNDER Rule 12(g)(1) & (2) for
Defendants.                                          MOTION FOR A MORE DEFINITE
                                                     STATEMENT under Rule 12(e) and
                                                     MOTIONS TO DISMISS under
                                                     Rule 12(b)(2),(4) and (6)


                                     Robert F. Lain in

                                SPECIAL APPEARANCE

MOTION TO JOIN MOTIONS under Rule 12(g) (1) & (2) for MORE DEFINITE
STATEMENT under RULE 12(e) and MOTIONS TO DISMISS under RULE 12(b)(2), (4)
and (6)




       Pursuant to Rule 12(g) (1) &(2) of the Federal Rules of Procedures (FRCP),

Defendant Robert F. Lain in "special appearance", respectfully move the court under

FRCP Rule 12(g)(1) & (2) to join his MOTION FOR A MORE DEFINITE STATEMENT

under Rule 12(e)with his Motions to Dismiss under FRCP Rules' 12(b)(2),(4) and (6)

and grant an order requiring Plaintiff UNITED STATES OF AMERICA to provide a more
definite statement regarding whom the plaintiff is, who the defendant is, so that Robert

F. Lain can reasonably address whether the UNITED STATES OF AMERICA and the

United States are one and the same entity, and whether ROBERT F. LAIN and Robert F
         Case 2:17-cv-00113-ABJ Document 7 Filed 09/26/17 Page 2 of 6



Lain are one and the same. A Memorandum of points and authorities in support of

Robert F. Iain's motions' and a proposed order are submitted along with this Notice of

"Special Appearance" and motions.


                                                Respectfully Submitted,




                                                     Robert F. Lain
                                                     3 Chapel Rd
                                                     Big Piney, Wyoming 83113
                                                     Ph# 307-276-5256
          Case 2:17-cv-00113-ABJ Document 7 Filed 09/26/17 Page 3 of 6



Robert F. Lain
3 Chapel Rd
Big Piney, Wyoming 83113
Defendant



                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING

UNITED STATESOF AMERICA,                       )
      Plaintiff,                               )    Civil No. 17-CV-113-J
          V.                                   )    IN SPECIAL APPEARANCE
ROBERT F. LAIN. AMELIA LAIN, and               )    MOTION FOR JOINING MOTIONS
SEPTEMBER LIBERTY TRUST,                       )    UNDER Rule 12(g)(1) & (2) for
Defendants.                                    )    MOTION FOR A MORE DEFINITE
                                               )    STATEMENT under Rule 12(e) and
                                               )    MOTIONS TO DISMISS under
                                               )    Rule12(b)(2),(4)and(6)


                                        ORDER
This Court being fully apprised in the premises grant Robert F. Lain Motion to Dismiss

under Rule 12 (b)(4) InsufficientProcess, and order Civil Case number 17-CV-113-J

dismissed without prejudice.




                                                      Judge
          Case 2:17-cv-00113-ABJ Document 7 Filed 09/26/17 Page 4 of 6



Robert F. Lain
3 Chapel Rd
Big Piney, Wyoming 83113
Defendant



                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING

UNITEDSTATES OF AMERICA,                       )
      Plaintiff,                               )    Civil No. 17-CV-113-J
          V.                                   )    IN SPECIAL APPEARANCE
ROBERT F. LAIN, AMELIA LAIN, and               )    MOTION FOR JOINING MOTIONS
SEPTEMBER LIBERTY TRUST,                       )    UNDER Rule 12(g)(1) & (2) for
Defendants.                                    )    MOTION FOR A MORE DEFINITE
                                               )    STATEMENT under Rule 12(e) and
                                               )    MOTIONS TO DISMISS under
                                               )    Rule12(b)(2),(4)and(6)


                                        ORDER
This Court being fully apprised in the premises grant Robert F. Lain Motion to Dismiss

under Rule 12 (b)(2) Lack of Personal Jurisdiction, and order Civil Case number 17-CV-

113-J dismissed without prejudice.




                                                      Judge
                    Case 2:17-cv-00113-ABJ Document 7 Filed 09/26/17 Page 5 of 6




        Robert Freddie Lain
        Box 1129
        Big PIney, Wyoming p.c. 83113




        U.S. District Court of Wyoming

        2120 Capitol Avenue
        Room 2131
        Cheyenne, WY 82001-3658




        To the U.S. District Court of Wyoming,



        I sent this Motion To Dismiss to the wrong address. And am rectifying this mistake. Piease forgive my
        error and accept this and please put it on the docket.




                Sincerely




        Robert Freddie Lain




I   A                                                                                                           /
                                                                            eERm'EDMAfL
                                                                                                                               U.^^PgSTAGE
                                                                                                                               BIS PINEY, WY
                                                                                                                                 S3113
                                                                                                                               SEP 21, 17
                                                                                                                                 AMOUNT
                                                                      7D1S 343D QODQ 2714 7abD          1000
                                                                                                                       82001
                                                                                                                                 $8.76
                                                                                                                               R2304W120050-04
Case 2:17-cv-00113-ABJ Document 7 Filed 09/26/17 Page 6 of 6




                                                                                                               \i-Aa
                                                               .                   £'T u         Uy i
                                                                 ^ i' 3 '
                                                               uP€,
                                                               <§     t ^ (^"5%
